Case: 1:12-cr-O0062-DAP Doc #: 1-1 Filed: 01/30/12 1o0f1. PagelD #: 2

AO $1 (Rev. 5/85) Criminal Complaint

United States District Court

NORTHERN DISTRICT OF OHIO, EASTERN DIVISION JAZ 30 PH 3 06

UNITED STATES OF AMERICA
v. CRIMINAL COMPLAINT
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Chardee D. Barfield i 1a aud UGS Waite
857 East 128" Street, CASE NUMBER:
Cleveland, Ohio 44108

1:12 "! 7032

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SB

(Name and Address of Defendant)

], the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about December 16, 2011 ~ December 31, 2011 in Cuyahoga county, in the
Northern District of Ohio defendant(s) did, (Trask Statutory Language of Offense}

knowingly transport an individual who has not attained the age of 18 years in interstate or foreign commerce, with intent that the
individual engage in prostitution, in violation of Title 18, United States Code, Section(s) 2423(a).

| further state thatlam a(n} _ Special Agent ofthe FBI and that this complaint is based on the following facts:
Official Title

See Attached Affidavit hereby incorporated by reference as if fully restated herein.

Continued on the attached sheet and made a part hereof: Yes CJ No

(‘he Ue in my presence,

Signaturé of Complainant

Charles Sullivan
Special Agent
FBE, Cleveland Division

January 30, 2012
Date

Gregory A. White: Magistrate Judge
Name & Title of Judicial Officer

